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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS


IN RE DELTA DENTAL ANTITRUST                   CIVIL ACTION NO.
LITIGATION
                                               1:19-CV-06734


                                               JURY TRIAL DEMANDED




                       CONSOLIDATED COMPLAINT
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       Plaintiffs Robert S. Dolgow D.D.S., P.A.; B. Kyle Benton, D.D.S. P.A.; Kaufman &

Kaufman Smile Design Studio LLC; Legacy Dental Associates P.C.; Dr. Rick Lindley, DDS,

FICD; Dr. Steven P. Dultz DMD; Simon and Simon, PC.; Tooth Town Pediatric Dentistry,

PLLC; Mary M. Fisher, DDS, P.C.; Bemus Point Dental, LLC; Rittenhouse Smiles, P.C.,

Timothy C. Verharen, D.D.S.; and Drs. DelMonico and Trocchio, Ltd., individually and on

behalf of themselves and all others similarly situated, bring this class action based upon personal

knowledge of their own acts and upon information and belief as to all other matters alleged,

including the investigation of Plaintiffs’ counsel, against Defendants Arizona Dental Insurance

Service, Inc., d/b/a Delta Dental of Arizona; Delta Dental Plan of Arkansas, Inc.; Delta Dental of

California; Colorado Dental Service Inc. d/b/a Delta Dental of Colorado; Delta Dental of

Connecticut; Delta Dental of Delaware, Inc.; Delta Dental of the District of Columbia; Hawaii

Dental Service; Delta Dental of Idaho, Inc. d/b/a Delta Dental of Idaho; Delta Dental of Illinois;

Delta Dental of Indiana, Inc.; Delta Dental of Iowa; Delta Dental of Kansas Inc.; Delta Dental of

Kentucky, Inc.; Maine Dental Service Corporation, d/b/a Delta Dental Plan of Maine; Dental

Service of Massachusetts Inc. d/b/a Delta Dental of Massachusetts; Delta Dental Plan of

Michigan, Inc.; Delta Dental of Minnesota; Delta Dental of Missouri; Delta Dental of Nebraska;

Delta Dental Plan of New Hampshire, Inc., Delta Dental of New Jersey, Inc.; Delta Dental Plan

of New Mexico, Inc.; Delta Dental of New York Inc.; Delta Dental of North Carolina; Delta

Dental Plan of Ohio, Inc.; Delta Dental Plan of Oklahoma; Oregon Dental Service d/b/a Delta

Dental of Oregon; Delta Dental of Pennsylvania; Delta Dental of Puerto Rico, Inc.; Delta Dental

of Rhode Island; Delta Dental of South Dakota; Delta Dental of Tennessee; Delta Dental Plan of

Vermont, Inc., Delta Dental of Virginia; Delta Dental of Washington; Delta Dental Plan of West

Virginia, Inc.; Delta Dental of Wisconsin, Inc.; Delta Dental Plan of Wyoming d/b/a Delta

Dental of Wyoming; and Delta Dental Insurance Company (collectively, the “Delta Dental State

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Insurers”); DeltaUSA; and Delta Dental Plans Association (all together with the Delta Dental

State Insurers, “Delta Dental” or “Defendants”).

                                  NATURE OF THE ACTION

       1.      This case involves Delta Dental’s coordinated agreement not to compete among

the various separate Delta Dental entities and Delta Dental’s unlawful misuse of monopsony

power in the market for dental insurance across the United States. Delta Dental secured this

power through its artificial territorial division of that market among the Delta Dental State

Insurers, and is abusing it to: (1) restrict competition between the Delta Dental State Insurers

when operating under the “Delta Dental” brand (the “Market Allocation Mechanism”); (2)

reduce the amounts of reimbursement paid by the Delta Dental State Insurers to the dentists and

dental practices who are reimbursed by Delta Dental insurance (the “Price Fixing”), and (3)

restrict competition among the Delta Dental State Insurers when operating under non-“Delta

Dental” brands (the “Revenue Restrictions”).

       2.      The Delta Dental State Insurers are predominantly not-for-profit dental services

corporations that operate in 39 state or multi-state territories across the United States. They

reimburse dentists and dental practices—like the named Plaintiffs—that accept Delta Dental

insurance (collectively, the “Dental Providers”) to reimburse the providers for dental services

provided to Delta Dental insureds under Delta Dental insurance contracts. The Delta Dental

State Insurers are supported in turn by the Delta Dental Plans Association, a nationwide entity

that acts as an administrator and watchdog for the Delta Dental insurance plans offered to the

Delta Dental insureds via the Delta Dental State Insurers. Delta Dental Plans Association is

funded and controlled by the Delta Dental State Insurers, and acts as a vehicle for their concerted

activity, including via a contract entered into by each Delta Dental State Insurer with the Delta

Dental Plans Association (the “Delta Dental Plan Agreement”).


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       3.      Defendants are now the largest providers of insurance for dental services in the

U.S., and have approximately 200,000 dental locations across the U.S. By carving the 50 U.S.

States into 39 exclusive territories in which the Delta Dental State Insurers are guaranteed to be

free from competition from other Delta Dental State Insurers, the Delta Dental State Insurers

have each secured monopsony power within their assigned territories, and Defendants as a group

have secured monopsony control over the market for dental insurance across the U.S. Absent the

monopsony powers and territorial protections secured to Defendants by the Market Allocation

Mechanism, dental plan sponsors and members would have greater choice as to the dental

insurance they choose to purchase, and the Dental Providers would have greater choice in the

dental insurance they choose to accept from their patients.

       4.      Defendants have built upon the monopsony control achieved through the Market

Allocation Mechanism to further unlawfully restrict competition in the market for dental

insurance through the Price Fixing, and the Revenue Restrictions.

       5.      Defendants’ Price Fixing takes the form of agreement as to the rates at which they

will reimburse the Dental Providers for the services the providers offer to Delta Dental insureds.

By conspiratorial agreement, Defendants set these prices at lower than market rates, and then

abuse their monopsony control of the dental insurance market to force these rates onto the Dental

Providers. The Dental Providers, faced with a large number of patients who have purchased

Delta Dental insurance (and naturally wish to be treated by a provider that accepts it) have little

or no choice but to acquiesce to Defendants’ non-competitive and artificially low reimbursement

rates. Absent the Price Fixing and the Market Allocation Mechanism which leaves providers

few or no alternative insurance plans to accept from patients, the Dental Providers would have

greater choice in the dental insurance they choose to accept, and thus greater choice in the

reimbursement rates received for their services.

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       6.      These two mechanisms are buttressed by a third: Defendants’ Revenue

Restrictions which takes the form of Defendants agreeing—via the Delta Dental Plan

Agreement—that the Delta Dental State Insurers will limit the amount of revenue they derive

from dental insurance sold other than under the “Delta Dental” brand, or that they will derive

from administering “Delta Dental” plans. Many of the Delta Dental State Insurers could develop

and offer dental insurance under non-Delta Dental plans that would compete with their Delta

Dental plan offerings (or with the Delta Dental plan offerings of other Delta Dental State

Insurers), or they could compete to provide the services involved in administering Delta Dental

plans. Instead, each of the Delta Dental State Insurers affirmatively agrees, including via the

Delta Dental Plan Agreement, to limit the extent to which such competition occurs in order to

retain the valued Delta Dental business. As a result of the Revenue Restrictions, the Delta

Dental State Insurers—who, per the Market Allocation Mechanism, have already agreed not to

compete with other Delta Dental State Insurers under the Delta Dental brand—further agree to

limit their competition with each other and with non-Delta Dental insurance providers under

non-Delta Dental brands. The Delta Dental State Insurers thus risk losing their Delta Dental

franchise if they conduct too much business under other brands, or provide too many

administrative services under the Delta Dental brand, in competition with the Delta Dental plans

that they or other Delta Dental State Insurers offer. Absent the restraints on competition for non-

Delta branded insurance business imposed by the Revenue Restrictions, the groups who purchase

dental plans for their members (and, by extension, those members) would have greater choice in

the dental insurance they could choose to purchase, and the Dental Providers would have greater

choice in the dental insurance they chose to accept from patients. Absent the restraint on

competition for administration of Delta branded business imposed by the Revenue Restrictions,




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companies seeking to have their dental insurance plans administered by third parties would have

greater choice among available administrators.

       7.      All three mechanisms reduced competition in the market for dental insurance

throughout the United States. This decreased competition has harmed the Dental Providers (in

the form of reduced choice in the dental insurance plans they can accept from patients, and lower

reimbursement rates paid to them under those plans), and has also harmed dental plan sponsors

and members (in the form of higher premiums paid to Dental Providers in a non-competitive

market, and through lower quality services offered to patients by the Dental Providers that have

received artificially low reimbursement from Defendants).1 While Defendants are

predominantly non-profit entities, they have reaped the benefits of their anticompetitive

conspiracy, as reflect in lavish executive compensation and disproportionately large capital

reserves.

       8.      The Market Allocation Mechanism, the Price Fixing, and the Revenue

Restrictions also have given Delta Dental unparalleled dominance in the market for dental

insurance. Delta Dental’s dominance in this market gives Delta Dental monopsonist control of

the rates of reimbursement paid to the Dental Providers.

                                            PARTIES

       A.      Plaintiffs

       9.      Plaintiff Robert S. Dolgow D.D.S., P.A. (“Dr. Dolgow,” or “Plaintiff”), is a dental

services provider and a citizen of the state of Florida. During the relevant time period, Dr.

Dolgow provided and continues to provide dental goods and services to consumers insured by

Delta Dental pursuant to his in-network contract with Delta Dental Florida. As a result of the



       1
        Plaintiffs seek to represent a class of Dental Providers who have been reimbursed by
Delta Dental Insurance and not Delta Dental insureds.
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anticompetitive conduct alleged herein, Dr. Dolgow was deprived and continues to be deprived

of the choice of accepting dental patients under a greater number of insurance plans than he

would have been in a competitive market, and was reimbursed and continues to be reimbursed

less for providing dental goods and services than he would have been but for such conduct. Dr.

Dolgow has been injured and continues to be inured in his business or property as a result of

Defendants’ violations of the antitrust laws.

       10.     Plaintiff B. Kyle Benton, D.D.S., P.A (“Dr. Benton,” or “Plaintiff”), is a dental

services provider and a citizen of the state of Arkansas. During the relevant time period, Dr.

Benton provided and continues to provide dental goods and services to consumers insured by

Delta Dental pursuant to his in-network contract with Delta Dental Plan of Arkansas, Inc. As a

result of the anticompetitive conduct alleged herein, Dr. Benton was deprived and continues to

be deprived of the choice of accepting dental patients under a greater number of insurance plans

than he would have been in a competitive market, and was reimbursed and continues to be

reimbursed less for providing dental goods and services than he would have been but for such

conduct. Dr. Benton has been injured and continues to be injured in his business or property as a

result of Defendants’ violations of the antitrust laws.

       11.     Plaintiff Kaufman & Kaufman Smile Design Studio LLC (“Dr. Kaufman,” or

“Plaintiff”), is a dental services provider and a citizen of the state of Illinois. During the relevant

time period, Dr. Kaufman provided and continues to provide dental goods and services to

consumers insured by Delta Dental pursuant to his in-network contract with Delta Dental of

Illinois. As a result of the anticompetitive conduct alleged herein, Dr. Kaufman was deprived

and continues to be deprived of the choice of accepting dental patients under a greater number of

insurance plans than he would have been in a competitive market, and was reimbursed and

continues to be reimbursed less for providing dental goods and services than he would have been

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but for such conduct. Dr. Kaufman has been injured and continues to be injured in his business

or property as a result of Defendants’ violations of the antitrust laws.

       12.     Plaintiff Legacy Dental Associates, P.C. (“Dr. Osborne,” or “Plaintiff”), is a

dental services provider and a citizen of the state of Texas. During the relevant time period, Dr.

Osborne provided and continues to provide dental goods and services to consumers insured by

Delta Dental pursuant to his in-network contract with Delta Dental Insurance Company. As a

result of the anticompetitive conduct alleged herein, Dr. Osborne was deprived and continues to

be deprived of the choice of accepting dental patients under a greater number of insurance plans

than he would have been in a competitive market, and was reimbursed and continues to be

reimbursed less for providing dental goods and services than he would have been but for such

conduct. Dr. Osborne has been injured and continues to be injured in his business or property as

a result of Defendants’ violations of the antitrust laws.

       13.     Plaintiff Dr. Rick Lindley, DDS, FICD (“Dr. Lindley,” or “Plaintiff”), is a dental

services provider and a citizen of the state of California. During the relevant time period, Dr.

Lindley provided and continues to provide dental goods and services to consumers insured by

Delta Dental pursuant to his in-network contract with Delta Dental of California. As a result of

the anticompetitive conduct alleged herein, Dr. Lindley was deprived and continues to be

deprived of the choice of accepting dental patients under a greater number of insurance plans

than he would have been in a competitive market, and was reimbursed and continues to be

reimbursed less for providing dental goods and services than he would have been but for such

conduct. Dr. Lindley has been injured and continues to be injured in his business or property as

a result of Defendants’ violations of the antitrust laws.

       14.     Plaintiff Dr. Steven P. Dultz DMD (“Dr. Dultz” or “Plaintiff”) is a dental services

provider and a citizen of the state of New Jersey. During the relevant time period, Dr. Dultz

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provided dental goods and services to consumers insured by Delta Dental pursuant to his in-

network contract with Delta Dental New Jersey, Inc. As a result of the anticompetitive conduct

alleged herein, Dr. Dultz was deprived of the choice of accepting dental patients under a greater

number of insurance plans than he would have been in a competitive market, and was reimbursed

less for providing dental goods and services than he would have been but for such conduct. Dr.

Dultz has been injured in his business or property as a result of Defendants’ violations of the

antitrust laws.

        15.       Plaintiff Simon and Simon, PC d/b/a City Smiles (“City Smiles,” or “Plaintiff”),

is a dental practice located in Chicago, IL that serves Delta Patients as an in-network provider for

Delta Dental of Illinois. During the relevant time period, City Smiles provided and continues to

provide dental goods and services to consumers insured by Delta Dental pursuant to his in-

network contract with Delta Dental of Illinois. As a result of the anticompetitive conduct alleged

herein, City Smiles was deprived and continues to be deprived of the choice of accepting dental

patients under a greater number of insurance plans than he would have been in a competitive

market, and was reimbursed and continues to be reimbursed less for providing dental goods and

services than he would have been but for such conduct. City Smiles has been injured and

continues to be injured in his business or property as a result of Defendants’ violations of the

antitrust laws.

        16.       Plaintiff Mary M. Fisher, DDS, P.C. (“Dr. Fisher,” or “Plaintiff”), is a dental

services provider and a Michigan professional corporation. During the relevant time period, Dr.

Fisher provided and continues to provide dental goods and services to patients insured by Delta

Dental pursuant to its in-network contract with Delta Dental Plan of Michigan, Inc. As a result

of the anticompetitive conduct alleged herein, Dr. Fisher was deprived and continues to be

deprived of the choice of accepting dental patients under a greater number of insurance plans

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than it would have been in a competitive market and was reimbursed and continues to be

reimbursed less for providing dental goods and services than it would have been but for such

conduct. Dr. Fisher has been injured and continues to be injured in its business or property as a

result of Defendants’ violations of the antitrust laws.

       17.     Plaintiff Tooth Town Pediatric Dentistry, PLLC (“Tooth Town,” or “Plaintiff”), is

a dental services provider and a Michigan professional limited liability company. During the

relevant time period, Tooth Town provided and continues to provide dental goods and services to

patients insured by Delta Dental pursuant to its in-network contract with Delta Dental Plan of

Michigan, Inc. As a result of the anticompetitive conduct alleged herein, Tooth Town was

deprived and continues to be deprived of the choice of accepting dental patients under a greater

number of insurance plans than it would have been in a competitive market and was reimbursed

and continues to be reimbursed less for providing dental goods and services than it would have

been but for such conduct. Tooth Town has been injured and continues to be injured in its

business or property as a result of Defendants’ violations of the antitrust laws.

       18.     Plaintiff Bemus Point Dental, LLC (“Bemus Point,” or “Plaintiff”), is a dental

services provider and a New York State professional corporation. During the relevant time

period, Bemus Point provided and continues to provide dental goods and services to patients

insured by Delta Dental of New York Inc. and was reimbursed and continues to be reimbursed

by Delta Dental of New York Inc. for said goods and services. As a result of the anticompetitive

conduct alleged herein, Bemus Point was deprived and continues to be deprived of the choice of

accepting dental patients under a greater number of insurance plans than it would have been in a

competitive market and was reimbursed and continues to be reimbursed less for providing dental

goods and services than it would have been but for such conduct. Bemus Point has been injured




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and continues to be injured in its business or property as a result of Defendants’ violations of the

antitrust laws.

        19.       Plaintiff Rittenhouse Smiles, P.C. (“Rittenhouse,” or “Plaintiff”), is a dental

services provider located in Philadelphia, Pennsylvania. During the relevant time period,

Rittenhouse provided and continues to provide dental goods and services to patients insured by

Delta Dental pursuant to its in-network contract with Delta Dental of Pennsylvania. Due to the

anticompetitive conduct alleged herein, Rittenhouse was deprived and continues to be deprived

of the choice of accepting dental patients under a greater number of insurance plans than it would

have been in a competitive market and was reimbursed and continues to be reimbursed less for

providing dental goods and services than it would have been but for such conduct. Rittenhouse

has been injured and continues to be injured in its business or property as a result of Defendants’

violations of the antitrust laws.

        20.       Plaintiff Timothy C. Verharen, D.D.S. (“Dr. Verharen” or “Plaintiff”) is a dental

services provider and a citizen of the state of Washington. During the relevant time period, Dr.

Verharen provided and continues to provide dental goods and services to consumers insured by

Delta Dental pursuant to his in-network contract with Delta Dental of Washington. As a result of

the anticompetitive conduct alleged herein, Dr. Verharen was deprived and continues to be

deprived of the choice of accepting dental patients under a greater number of insurance plans

than he would have been in a competitive market and was reimbursed and continues to be

reimbursed less for providing dental goods and services than he would have been but for such

conduct. Dr. Verharen has been injured and continues to be injured in his business or property as

a result of Defendants’ violations of the antitrust laws.

        21.       Plaintiff Drs. DelMonico and Trocchio, Ltd., (“Drs. DelMonico and Trocchio,” or

“Plaintiff”), is a dental practice located in Elmwood Park, IL that serves Delta Patients as an in-

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network provider for Delta Dental of Illinois. During the relevant time period, Drs. DelMonico

and Trocchio provided and continue to provide dental goods and services to consumers insured

by Delta Dental pursuant to its in-network contract with Delta Dental of Illinois. As a result of

the anticompetitive conduct alleged herein, Drs. DelMonico and Trocchio was deprived and

continue to be deprived of the choice of accepting dental patients under a greater number of

insurance plans than it would have been in a competitive market, and was reimbursed and

continues to be reimbursed less for providing dental goods and services than it would have been

but for such conduct. Drs. DelMonico and Trocchio has been injured and continues to be injured

in its business or property as a result of Defendants’ violations of the antitrust laws.

       B.      Defendants

       22.     Delta Dental Plans Association is located at 1515 22nd St # 450, Oak Brook, IL

60523, USA. Throughout the class period, Delta Dental Plans Association was comprised of and

managed by a network of the Delta Dental State Insurers as listed and alleged herein.

       23.     Delta Dental Insurance Company is located at P.O. Box 2059 Mechanicsburg, PA

17055-2059, and has Payer #AARP1. Delta Dental Insurance Company is the Delta Dental

licensee for Alabama, Florida, Georgia, Louisiana, Mississippi, Montana, Nevada, Texas, and

Utah. Throughout the class period, Delta Dental Insurance Company had significant market

power in respect to the markets for dental insurance in the states of Alabama, Florida, Georgia,

Louisiana, Mississippi, Montana, Nevada, Texas, and Utah and exercised control together with

the other Delta Dental State Insurers over Delta Dental Plans Association.

       24.     DeltaUSA is located at 1515 W 22nd Street, Suite 450, Oak Brook, IL 60523.

DeltaUSA is a subsidiary of Delta Dental Plans Association and facilitates Defendants’ ability to

centrally administer their national and multi-state dental insurance programs, and thereby to

implement Defendants' anticompetitive conduct.


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       25.     Arizona Dental Insurance Service, Inc., d/b/a Delta Dental of Arizona (“Delta

Arizona”) is located at P.O. Box 43026 Phoenix, AZ 85080, and has Payer #86027. Delta

Arizona is the Delta Dental licensee for Arizona. Throughout the class period, Delta Arizona

had significant market power in respect to the market for dental insurance in the state of Arizona,

and exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       26.     Delta Dental Plan of Arkansas, Inc. (“Delta Arkansas”) is located at P.O. Box

15965 N. Little Rock, AR 72231-5965, and has Payer #CDAR1. Delta Arkansas is the Delta

Dental licensee for Arkansas. Throughout the class period, Delta Arkansas had significant

market power in respect to the market for dental insurance in the state of Arkansas, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       27.     Delta Dental of California (“Delta California”) is located at P.O. Box 997330

Sacramento, CA 95899-7330, and has Payer #77777. Delta California is the Delta Dental

licensee for California. Throughout the class period, Delta California had significant market

power in respect to the market for dental insurance in the state of California, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       28.     Colorado Dental Service Inc. d/b/a/ Delta Dental of Colorado (“Delta Colorado”)

is located at P.O. Box 173803 Denver, CO 80217-3803, and has Payer #84056. Delta Colorado

is the Delta Dental licensee for Colorado. Throughout the class period, Delta Colorado had

significant market power in respect to the market for dental insurance in the state of Colorado,

and exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       29.     Delta Dental of Connecticut (“Delta Connecticut”) is a subsidiary of Delta Dental

of New Jersey, Inc. (“Delta New Jersey”) and has Payer #22189. Delta Connecticut shares an

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address with Delta New Jersey. Delta Connecticut is the Delta Dental licensee for Connecticut.

Throughout the class period, Delta Connecticut had significant market power in respect to the

market for dental insurance in the state of Connecticut, and exercised control together with the

other Delta Dental State Insurers over Delta Dental Plans Association.

       30.     Delta Dental of Delaware, Inc. (“Delta Delaware”) shares an address with Delta

Dental of Pennsylvania, and has Payer #51022. Delta Delaware is the Delta Dental licensee for

Delaware. Throughout the class period, Delta Delaware had significant market power in respect

to the market for dental insurance in the state of Delaware, and exercised control together with

the other Delta Dental State Insurers over Delta Dental Plans Association.

       31.     Delta Dental of the District of Columbia (“Delta DC”) shares an address with

Delta Dental of Pennsylvania), and has Payer #52147. Delta DC is the Delta Dental licensee for

the District of Columbia. Throughout the class period, Delta DC had significant market power in

respect to the market for dental insurance in the District of Columbia, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       32.     Hawaii Dental Service (“Delta Hawaii”) is located at 700 Bishop Street, Suite 700

Honolulu, HI 96813, and has Payer #99010. Delta Hawaii is the Delta Dental licensee for

Hawaii. Throughout the class period, Delta Hawaii had significant market power in respect to

the market for dental insurance in the state of Hawaii, and exercised control together with the

other Delta Dental State Insurers over Delta Dental Plans Association.

       33.     Delta Dental of Idaho, Inc. d/b/a Delta Dental of Idaho (“Delta Idaho”) is located

at P.O. Box 2870 Boise, ID 83701, and has Payer #82029. Delta Idaho is the Delta Dental

licensee for Idaho. Throughout the class period, Delta Idaho had significant market power in

respect to the market for dental insurance in the state of Idaho, and exercised control together

with the other Delta Dental State Insurers over Delta Dental Plans Association.

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       34.     Delta Dental of Illinois (“Delta Illinois”) is located at P.O. Box 5402 Lisle, IL

60532, and has Payer #05030 (group plans) and Payer #IDIND (IL individual plans only). Delta

Illinois is the Delta Dental licensee for Illinois. Throughout the class period, Delta Illinois had

significant market power in respect to the market for dental insurance in the state of Illinois, and

exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       35.     Delta Dental of Indiana, Inc. (“Delta Indiana”) is located at P.O. Box 9085

Farmington Hills, MI 48333-9085, and has Payer #DDPIN. Delta Indiana is the Delta Dental

licensee for Indiana. Throughout the class period, Delta Indiana had significant market power in

respect to the market for dental insurance in the state of Indiana, and exercised control together

with the other Delta Dental State Insurers over Delta Dental Plans Association.

       36.     Delta Dental of Iowa (“Delta Iowa”) is located at P.O. Box 9000 Johnston, IA

50131-9000, and has Payer #CDIA1. Delta Iowa is the Delta Dental licensee for Iowa.

Throughout the class period, Delta Iowa had significant market power in respect to the market

for dental insurance in the state of Iowa, and exercised control together with the other Delta

Dental State Insurers over Delta Dental Plans Association.

       37.     Delta Dental of Kansas Inc. (“Delta Kansas”) is located at 1619 N. Waterfront

Parkway P.O. Box 789769 Wichita, KS 67278-9769, and has Payer #E3960. Delta Kansas is the

Delta Dental licensee for Kansas. Throughout the class period, Delta Kansas had significant

market power in respect to the market for dental insurance in the state of Kansas, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       38.     Delta Dental of Kentucky, Inc. (“Delta Kentucky”) is located at P.O. Box 242810

Louisville, KY 40224-2810, and has Payer #CDKY1. Delta Kentucky is the Delta Dental

licensee for Kentucky. Throughout the class period, Delta Kentucky had significant market

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power in respect to the market for dental insurance in the state of Kentucky, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       39.     Maine Dental Service Corporation, d/b/a Delta Dental Plan of Maine (“Delta

Maine”), is located at P.O. Box 2002 Concord, NH 03302-2002, and has Payer #02027. Maine

Dental Service Corporation is the Delta Dental licensee for Maine. Throughout the class period,

Maine Dental Service Corporation had significant market power in respect to the market for

dental insurance in the state of Maine, and exercised control together with the other Delta Dental

State Insurers over Delta Dental Plans Association.

       40.     Dental Service of Massachusetts Inc. d/b/a Delta Dental of Massachusetts (“Delta

Massachusetts”) is located at P.O. Box 2907 Milwaukee, WI 53201, and has Payer #04614.

Delta Massachusetts is the Delta Dental licensee for Massachusetts. Throughout the class

period, Delta Massachusetts had significant market power in respect the market for dental

insurance in the state of Massachusetts, and exercised control together with the other Delta

Dental State Insurers over Delta Dental Plans Association.

       41.     Delta Dental Plan of Michigan, Inc. (“Delta Michigan”) is located at 4100

Okemos Road, Okemos, MI 48864, and has Payer #DDPMI. Delta Michigan is the Delta Dental

licensee for Michigan. Throughout the class period, Delta Michigan had significant market

power in respect to the market for dental insurance in the state of Michigan, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       42.     Delta Dental of Minnesota (“Delta Minnesota”) is located at P.O. Box 59238

Minneapolis, MN 55459-0238, and has Payer #26004 or 07000. Delta Minnesota is the Delta

Dental licensee for Minnesota and North Dakota. Throughout the class period, Delta Minnesota

had significant market power in respect to the markets for dental insurance in the states of




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Minnesota and North Dakota, and exercised control together with the other Delta Dental State

Insurers over Delta Dental Plans Association.

       43.     Delta Dental of Missouri (“Delta Missouri”) is located at P.O. Box 8690 St.

Louis, MO 63126-0690, and has Payer #43090. Delta Missouri is the Delta Dental licensee for

Missouri and South Carolina. Throughout the class period, Delta Missouri had significant

market power in respect to the markets for dental insurance in the states of Missouri and South

Carolina, and exercised control together with the other Delta Dental State Insurers over Delta

Dental Plans Association.

       44.     Delta Dental of Nebraska (“Delta Nebraska”) is located at P.O. Box 245

Minneapolis, MN 55440-0245, and has Payer #07027. Delta Nebraska is the Delta Dental

licensee for Nebraska. Throughout the class period, Delta Nebraska had significant market

power in respect to the market for dental insurance in the state of Nebraska, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       45.     Delta Dental Plan of New Hampshire, Inc. (“Delta New Hampshire”) is located at

P.O. Box 2002 Concord, NH 03302-2002, and has Payer #02027. Delta Dental Plan of New

Hampshire, Inc. is the Delta Dental licensee for the state of New Hampshire. Throughout the

class period, Delta Dental Plan of New Hampshire, Inc. had significant market power in respect

to the markets for dental insurance in the state of New Hampshire, and exercised control together

with the other Delta Dental State Insurers over Delta Dental Plans Association. Delta New

Hampshire also does business in New Hampshire, Maine and Vermont under the registered trade

name Northeast Delta Dental.

       46.     Delta Dental of New Jersey (“Delta New Jersey”) is located at P.O. Box 222

Parsippany, NJ 07054, and has Payer #22189. Delta New Jersey is the Delta Dental licensee for

New Jersey. Throughout the class period, Delta New Jersey had significant market power in

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respect to the market for dental insurance in the state of New Jersey, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       47.     Delta Dental Plan of New Mexico, Inc. (“Delta New Mexico”) is located at 2500

Louisiana Blvd., N.E. Suite 600 Albuquerque, NM 87110, and has Payer #85022. Delta New

Mexico is the Delta Dental licensee for New Mexico. Throughout the class period, Delta New

Mexico had significant market power in respect to the market for dental insurance in the state of

New Mexico, and exercised control together with the other Delta Dental State Insurers over

Delta Dental Plans Association.

       48.     Delta Dental of New York Inc. (“Delta New York”) shares an address with Delta

Dental of Pennsylvania, and has Payer #11198. Delta New York is the Delta Dental licensee for

New York. Throughout the class period, Delta New York had significant market power in

respect to the market for dental insurance in the state of New York, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       49.     Delta Dental of North Carolina (“Delta North Carolina”) is located at P.O. Box

9085 Farmington Hills, MI 48333-9085, and has Payer #56101. Delta North Carolina is the

Delta Dental licensee for North Carolina. Throughout the class period, Delta North Carolina had

significant market power in respect to the market for dental insurance in the state of North

Carolina, and exercised control together with the other Delta Dental State Insurers over Delta

Dental Plans Association.

       50.     Delta Dental Plan of Ohio, Inc. (“Delta Ohio”) is located at P.O. Box 9085

Farmington Hills, MI 48333-9085, and has Payer #DDPOH. Delta Ohio is the Delta Dental

licensee for Ohio. Throughout the class period, Delta Ohio had significant market power in

respect to the market for dental insurance in the state of Ohio, and exercised control together

with the other Delta Dental State Insurers over Delta Dental Plans Association.

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       51.     Delta Dental Plan of Oklahoma (“Delta Oklahoma”) is located at P.O. Box

548809 Oklahoma City, OK 73154-8809, and has Payer #22229 and CDOK1. Delta Oklahoma

is the Delta Dental licensee for Oklahoma. Throughout the class period, Delta Oklahoma had

significant market power in respect to the market for dental insurance in the state of Oklahoma,

and exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       52.     Oregon Dental Service d/b/a Delta Dental of Oregon (“Delta Oregon”) is located

at 601 SW 2nd Avenue Portland, OR 97204, and has Payer #CDOR1. Delta Oregon is the Delta

Dental licensee for Oregon and Alaska. Throughout the class period, Delta Oregon had

significant market power in respect to the market for dental insurance in the states of Oregon and

Alaska, and exercised control together with the other Delta Dental State Insurers over Delta

Dental Plans Association.

       53.     Delta Dental of Pennsylvania (“Delta Pennsylvania”) is located at P.O. Box 2105

Mechanicsburg, PA 17055-6999, and has Payer #23166. Delta Pennsylvania is the Delta Dental

licensee for Pennsylvania and Maryland. Throughout the class period, Delta Pennsylvania had

significant market power in respect to the market for dental insurance in the states of

Pennsylvania and Maryland, and exercised control together with the other Delta Dental State

Insurers over Delta Dental Plans Association.

       54.     Delta Dental of Puerto Rico, Inc. (“Delta Puerto Rico”) is located at P.O. Box

9020992 San Juan, PR 00902-0992, and has Payer #680652604. Delta Puerto Rico is the Delta

Dental licensee for Puerto Rico. Throughout the class period, Delta Puerto Rico had significant

power in respect to the market for dental insurance in Puerto Rico, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.




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       55.     Delta Dental of Rhode Island (“Delta Rhode Island”) is located at P.O. Box 1517

Providence, RI 02901-1517, and has Payer #05029. Delta Rhode Island is the Delta Dental

licensee for Rhode Island. Throughout the class period, Delta Rhode Island had significant

market power in respect to the market for dental insurance in the state of Rhode Island, and

exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       56.     Delta Dental of South Dakota (“Delta South Dakota”) is located at P.O. Box 1157

Pierre, SD 57501, and has Payer #54097. Delta South Dakota is the Delta Dental licensee for

South Dakota. Throughout the class period, Delta South Dakota had significant market power in

respect to the market for dental insurance in the state of South Dakota, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       57.     Delta Dental of Tennessee (“Delta Tennessee”) is located at 240 Venture Circle

Nashville, TN 37228-1699, and has Payer #CDTN1. Delta Tennessee is the Delta Dental

licensee for Tennessee. Throughout the class period, Delta Tennessee had significant market

power in respect to the market for dental insurance in the state of Tennessee, and exercised

control together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       58.     Delta Dental Plan of Vermont, Inc. (“Delta Vermont”) is located at P.O. Box

2002 Concord, NH 03302-2002, and has Payer #02027. Delta Vermont is the Delta Dental

licensee for Vermont. Throughout the class period, Delta Vermont had significant market power

in respect to the market for dental insurance in the state of Vermont, and exercised control over

together with the other Delta Dental State Insurers Delta Dental Plans Association.

       59.     Delta Dental of Virginia (“Delta Virginia”) is located at 4818 Starkey Rd.,

Roanoke, VA 24018-8510, and has Payer #54084. Delta Virginia is the Delta Dental licensee for

Virginia. Throughout the class period, Delta Virginia had significant market power in respect to

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the market for dental insurance in the state of Virginia, and exercised control together with the

other Delta Dental State Insurers over Delta Dental Plans Association.

       60.     Delta Dental of Washington (“Delta Washington”) is located at P.O. Box 75983

Seattle, WA 98175, and has Payer #91062. Delta Washington is the Delta Dental licensee for

Washington. Throughout the class period, Delta Washington had significant market power in

respect to the market for dental insurance in the state of Washington, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       61.     Delta Dental Plan of West Virginia, Inc. (“Delta West Virginia”) shares an

address with Delta Pennsylvania, and has Payer #31096. Delta West Virginia is the Delta Dental

licensee for West Virginia. Throughout the class period, Delta West Virginia had significant

market power in respect to the market for dental insurance in the state of West Virginia, and

exercised control together with the other Delta Dental State Insurers over Delta Dental Plans

Association.

       62.     Delta Dental of Wisconsin, Inc. (“Delta Wisconsin”) is located at P.O. Box 828

Stevens Point, WI 54481, and has Payer #39069. Delta Wisconsin is the Delta Dental licensee

for Wisconsin. Throughout the class period, Delta Wisconsin had significant market power in

respect to the market for dental insurance in the state of Wisconsin, and exercised control

together with the other Delta Dental State Insurers over Delta Dental Plans Association.

       63.     Delta Dental Plan of Wyoming d/b/a Delta Dental of Wyoming (“Delta

Wyoming”) is located at P.O. Box 29 Cheyenne, WY 82003-0029, and has Payer #CDWY1.

Delta Wyoming is the Delta Dental licensee for Wyoming. Throughout the class period, Delta

Wyoming had significant market power in respect to the market for dental insurance in the state

of Wyoming, and exercised control together with the other Delta Dental State Insurers over Delta

Dental Plans Association.

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               JURISDICTION, VENUE, AND PERSONAL JURISDICTION

       64.     Plaintiffs bring federal antitrust claims under Sections 1 of the Sherman Act, 15

U.S.C. §§ 1, and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26. This Court has

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367.

       65.     This Court has personal jurisdiction over each Defendant on multiple bases,

including because: (1) some of the Defendants, including Delta Illinois, and parent companies

Delta Dental Plan Association and DeltaUSA, are incorporated in, located in, or have entered

into contracts with Dental Providers in Illinois in this District; (2) all of the Defendants have

significant business in and contacts with Illinois including in this District through national

insurance programs, both by way of their provision of dental goods, services, and facilities to

consumers insured by Delta Dental in Illinois, and by their division of revenue resulting from

such provision; (3) all Defendants conspired with Delta Dental Illinois and Delta Dental Plans

Association; (4) all of the Defendants use the same forms containing the same terms and

conditions—as prepared and proscribed by Delta Dental Plans Association—when dealing with

Dental Providers; (5) all of the Defendants require Dental Providers who are in the individual

provider networks of each Defendant to accept patients of the other Defendants, often without

compensation for services rendered, and (6) Delta Dental Plans Association and DeltaUSA

conducted significant corporate business in Illinois and in this District, including the selection

and appointment of its present board members.

       66.     Accordingly, this Court has personal jurisdiction over Defendants under Section

12 of the Clayton Act, 15 U.S.C. § 22, because the Defendants transacted business in this

District. This Court also has personal jurisdiction under Illinois law because Defendants

participated in a conspiracy in which Delta Dental parent entities and at least one conspirator

committed acts in furtherance of the conspiracy in Illinois. This Court also has jurisdiction


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because Defendants either in person or through their agents and co-conspirators transacted

business, contracted to supply goods and services, regularly do business, and derive revenue

within the state of Illinois.

        67.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. §

22 because Defendants transact business in this District, and 28 U.S.C. § 1391, because a

significant part of the events, acts and omissions giving rise to this action occurred in the

District.

                                  INTERSTATE COMMERCE

        68.     Defendants’ activities as set out in this Consolidated Complaint have substantially

affected and are within the flow of interstate trade and commerce. Many of the Dental Providers,

including Plaintiff, provide services, goods, or facilities to persons who reside in other states.

        69.     The Delta Dental Plans Association is involved in interstate commerce. It

controls many of the operations of each of the individual Delta Dental State Insurers, controls the

marketing and use of the “Delta Dental” brand by each of the Delta Dental State Insurers, and

dictates the terms and conditions—even to the point of drafting the “Delta Dental Provider

Agreement”—that each Delta Dental State Insurer imposes on each Dental Provider.

        70.     Plaintiffs and other Dental Providers have used interstate banking facilities and

have purchased substantial quantities of goods and services across state lines for use in providing

dental services to Delta Dental insured consumers.

                                  FACTUAL BACKGROUND

        A.      The Delta Dental State Insurers

        71.     The Delta Dental State Insurers are predominately not-for-profit entities that

provide insurance plans for dental goods and services in their respective states or multi-state

areas. Through the insurance plans they offer and administer, the Delta Dental State Insurers


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reimburse the cost of dental goods and services provided to dental patients across the United

States by the Dental Providers—the dentists and dental practices who accept patients with Delta

Dental insurance.

       72.     The earliest Delta Dental State Insurers were created in approximately 1954 when

dental service corporations were formed in states such as California, Oregon and Washington. A

dental service corporation is a legally constituted not-for-profit organization, incorporated on a

state-by-state basis, that negotiates and administers contracts for dental care. These corporations

were created in response to requests from entities (such as workers unions) wishing to obtain a

comprehensive plan for dental services for their members, and with the aim of increasing public

access to oral health care. The dental service plans offered by the dental service corporations,

which have since become Delta Dental State Insureds, were intended to provide full payment to

dental service providers, with no additional payment required from a patient for their treatment

beyond an agreed copayment or deductible.

       73.     In the 1960’s there was an increase in the number of state dental association-

sponsored service corporations, and in the size of the groups or entities requesting dental care

plans from the corporations. In response, in 1966, the National Association of Dental Service

Plans (later renamed as the “Delta Dental Plans Association”) was created to bring together and

coordinate the Delta Dental State Insurers. From its creation, Delta Dental Plans Association

worked to coordinate dental benefit programs for Delta Dental customers (and potential

customers) that had employees in multiple states by allocating their insurance business (and

potential business) to different Delta Dental State Insurers based on the states or territories in

which the customer’s employees were based.

       74.     For example, in 1967, the Delta Dental State Insurer predecessor to Delta Dental

Washington began providing dental insurance programs to labor unions, and sold the first multi-

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state dental insurance program to the International Association of Machinists. With the

assistance of Delta Dental Plans Association, Delta Dental Washington ceded administration for

enrollees for this plan in states other than Washington to other Delta Dental State Insurers,

beginning the territorial allocation that persists through to today.

       75.     Coverage was provided this way until the late 1980s when Delta Dental of

California won the bid for the Office of the Civilian Health and Medical Program of the

Uniformed Services program. To centralize administration of this very large account, the Delta

Dental State Insurers agreed to share their provider data through the Delta Dental Plans

Association. This led to the creation of the National Provider File, which was made available for

commercial accounts in 1990 via DeltaCare USA, and which provided Delta Dental coverage to

organizations with employees and subscribers located in multiple states. It also gave Delta

Dental Plans Association access to the prices charged by Dental Providers across the country,

and facilitated Defendants’ implementation of their Price Fixing.

       76.     Delta Dental Plans Association currently offers three dental plans through the

Delta Dental State Insurers: (1) Delta Dental Premier, (2) Delta Dental PPO, and (3) DeltaCare

USA:

       a.      Delta Dental Premier is a traditional fee-for-service plan that allows patients to
               visit any licensed dentist and to change dentists at any time without notifying
               Delta Dental. Delta Dental Premier dentists agree to abide by Delta Dental’s
               determination of fees. When a patient visits a Delta Dental Premier dentist, Delta
               Dental ensures the patient pays no more than the co-insurance percentage
               specified by their coverage. Delta Dental Premier is Delta Dental’s largest dentist
               network.

       b.      Delta Dental PPO is Delta Dental’s preferred provider organization plan (a mid-
               priced fee-for-service plan). Under Delta Dental PPO, patients have the flexibility
               to visit any licensed dentist, and usually enjoy lower out-of-pocket costs because
               PPO dentists have agreed to accept reduced fees for covered procedures when
               treating PPO patients. Delta Dental PPO is Delta Dental’s second largest dentist
               network.



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       c.      DeltaCare USA is a prepaid plan that features set copayments, no annual
               deductibles and no maximums for covered benefits. In most states, a patient must
               select a primary care dentist in the DeltaCare USA network dentist from whom
               they will receive treatment. Typically, a patient’s out-of-pocket expenses will be
               lower with DeltaCare USA than with Delta Dental Premier or Delta Dental PPO.

       77.      Delta Dental Plans Association contracts with the Delta Dental State Insurers to

offer these plans pursuant to the “Delta Dental Plans Agreement,” under which the Delta Dental

State Insurers are allowed to conduct marketing and advertising using the Delta Dental

trademarks and copyrights in exchange for adhering to various rules governing the scope and

conduct of their business. Defendants collectively police the Delta Dental State Insurers’

compliance with the Delta Dental Plans Agreement to ensure the Delta Dental State Insurers are

abiding by its rules, and possess the power to terminate a Delta Dental State Insurer’s contract in

the event of non-compliance.

       78.     The benefits provided by the Delta Dental State Insurers to patients who obtain

goods or services from Dental Providers as Delta Dental insureds are defined in the form of a

range of benefits set forth in a document called a “Statement of Variability.” The actual

reimbursement rates paid by the Delta Dental State Insurers to the Dental Providers are set in the

Delta Dental Provider Agreement entered into between the Delta Dental State Insurer and the

Dental Provider, and are not filed with nor subject to review by any state insurance regulatory

authorities. The reimbursement rate paid to non-par Dental Providers are set forth in the

agreement between the insured and the Delta Dental State Insurer. Neither set of rates are filed

with or subject to review by any state regulatory authorities.

       79.     In large part through the anticompetitive agreements and practices set out in this

Consolidated Complaint—including through the collective coordination and management

undertaken by Delta Dental Plans Association on their behalf—the separate Delta Dental State

Insurers have grown collectively to become “[t]he most extensive dental network offering the


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widest selection of dentists nationwide.”2 As of January 2019, it is estimated that the Delta

Dental State Insurers were insuring more than 78 million dental patients in the United States.

       B.      The Dental Providers

       80.     The Dental Providers are dentists and dental practices—including named

Plaintiffs in this proceeding—who are effectively forced to accept patients who are insured by

Delta Dental, and lower-than-market reimbursement for dental goods and services provided to

those patients, because of the Delta Dental State Insurers’ market dominance and the

anticompetitive practices described in this Consolidated Complaint.

       81.     Most dental services in the United States are provided under a fee-for-service

concept, in which a dentist or dental practice is reimbursed depending on whether the dentists are

participating or nonparticipating (often referred to as par and nonpar) in respect to a given dental

plan. A participating dentist is one who has entered into a contractual agreement with a dental

insurer to provide dental goods and services to persons who are eligible under a given dental

insurance plan.

       82.     The Dental Providers receive reimbursement for dental goods and services

provided to patients with Delta Dental insurance as participating Delta Dental dentists pursuant

to contracts they enter into with the Delta Dental State Insurers (the “Delta Dental Provider

Agreements”). These agreements stipulate the terms, conditions, and rates under which the

Dental Providers can seek reimbursement from Delta Dental for services a dental patient elects to

receive when visiting a Dental Provider pursuant to a Delta Dental plan.




       2
         Delta Dental Website, “About Delta Dental insurance”:
https://www.dentalinsurance.com/delta-dental-insurance
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       83.     The Delta Dental State Insurers actively solicit all dentists and dental practices in

their assigned territory to participate in the Delta Dental plans. The terms and conditions

imposed by the Delta Dental Provider Agreements require that the Dental Providers will:

       a.      Charge Delta Dental insured patients the amounts established by the Delta Dental
               State Insurer, such that the Dental Provider can neither increase nor decrease its
               fees for Delta Dental insured patients;

       b.      Accept an agreed-upon schedule of rates (and where applicable, co-payments) for
               goods and services as payment-in-full for any goods and services provided to
               Delta Dental insureds, and not charge the insured any further amounts other than
               copayments or deductibles as specified under the Delta Dental Provider
               Agreement;

       c.      Submit to audits by auditors from Delta Dental, who ensure that the Dental
               Providers are charging patients the amounts set out in the Delta Dental Provider
               Agreement (and ancillary manual, which is an extension of the Delta Dental
               Provider Agreement), and otherwise adhere to any and all conditions in the
               agreement (and manual);

       d.      Conform their operations to a manual written and maintained by the Delta Dental
               Plans Association and enforced by the Delta Dental State Insurers; and

       e.      Accept and treat patients from outside the territory of the Delta Dental State
               Insurer with which the dentist has contracted, who are insured by a different Delta
               Dental State Insurer, without an assignment of benefits from the patient’s Delta
               Dental State Insurer (meaning that the dentist must collect the fee for services
               from the usually out-of-State patient, with a low probability of collection).

       84.     As outlined in more detail below, the Dental Providers—including named

Plaintiffs in this proceeding—are routinely required to accept a discount of as much as 35%, or

more, on market rates from the Delta Dental State Insurers when requesting reimbursement for

the goods and services they provide to Delta Dental insureds.3



       3
           Indeed, Defendants themselves boast of achieving “the industry’s best effective
discount – averaging 19.6% nationally,” as compared to average industry charges. See, e.g.,
Delta Dental, Measuring Overall Network Value: Effective Discounts (2011)
https://www.deltadentalco.com/uploadedFiles/Brokers/EffectiveDiscount.pdf This is possible
only at the expense of Plaintiffs and the class.

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       85.     This “take it or leave it” reimbursement rate discount is imposed upon the Dental

Providers by way of the Delta Dental Provider Agreement, and is an unavoidable cost of doing

business with Delta Dental insureds. Given Defendants’ monopsony control, the artificially low

reimbursement rates that the Dental Providers are effectively forced to accept under the Dental

plans are necessary—from the provider’s point of view—to the alternative of refusing to accept

Delta Dental insurance at all. This is because out-of-network dentists and dental providers can

claim reimbursement for goods and services provided to Delta Dental insureds, but must accept

even more of a reduction in rates than in-network dentists like the Dental Providers for doing so.

       86.     Defendants similarly set up further disincentives to ensure that dental service

providers in the Delta Dental State Insurers’ territories are faced with the Hobson’s choice of

either (1) accepting Delta Dental patients at discounted reimbursement rates pursuant to a Delta

Dental Provider Agreement, or (2) accepting those patients on economic terms that are even

more punitive for the providers.

       C.      The Relevant Goods, Services, and Geographic Markets

       87.     Delta Dental abused its market power to artificially restrain competition for

insurance with respect to dental goods and services. The relevant product market includes

insurance provided to dental patients who purchase dental insurance for themselves, or groups

who purchase dental insurance on behalf of their members, for dental good and services

including, but not limited to, diagnostic routine periodic examinations, bitewings, X-rays,

cleanings, fluoride treatments, sealants, space maintainers, minor emergency procedures, fillings,

tooth extractions, biopsy of oral tissue, frenectomy, non-surgical periodontics, endodontics,

crowns, and dentures.

       88.     The relevant geographic markets for such dental insurance is the whole United

States comprising the territories that the Defendants have allocated to themselves pursuant to the


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Market Allocation Mechanism, and/or, in the alternative, the territories that the Defendants have

allocated to themselves pursuant to the Market Allocation Mechanism.

       D.      Delta Dental’s Market Dominance

       89.     Through the above-described anticompetitive practices, and including through

their subsidiaries and affiliates, the Delta Dental State Insurers have achieved an unprecedented

degree of dominance in the market for dental insurance. They are often the largest providers of

dental insurance plans within the territory they have been assigned under the Market Allocation

Mechanism, and are often the only viable provider of dental insurance for a patient in a given

state. The Delta Dental State Insurers across the country had an average of 65% market share in

their given allocated territories in 2017.

       90.     Delta Dental’s market share has remained consistently high across the country in

recent history. As shown in the following chart, Delta Delta’s average market share across the

whole of the United States remained between 59% and 65% between 2013 and 2017.




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        91.     These market share figures are conservative because they do not include revenue

derived by Defendants through their administration of self-funded ERISA plans, and their

underwriting for publicly-insured programs such as Medicare Advantage and Medicaid.

Through such plan and programs, Defendants derive significant additional revenue and hold

significant further market share in the form of Dental Providers that must deal with Delta Dental

to receive reimbursements for patients covered by such plans and programs.

        92.     But for the anticompetitive restrictions described in this Consolidated Complaint,

all of the above-described Delta Dental State Insurers would offer insurance for dental services

outside of their assigned territories, throughout the United States, and in competition with the

other Delta Dental State Insurers. Such competition would result in greater dental insurance

choice to dental plan sponsors and members, and higher reimbursement rates and payments to

the Dental Providers.

                                   FACTUAL ALLEGATIONS

I.      AS PART OF THE CONSPIRACY, DELTA DENTAL IS ENGAGED IN AN
        UNLAWFUL MARKET ALLOCATION MECHANISM

        93.     The Market Allocation Mechanism is an agreement among Defendants to provide

dental insurance exclusively in the territories where the Delta Dental State Insurers are located

and is part of an unlawful horizontal conspiracy to allocate the market for dental insurance

within each of those territories and across the United States.

        94.     In furtherance of their agreement not to compete, and by way of the Delta Dental

Plans Agreement, Defendants have agreed (1) that the market for dental insurance will be

divided into 39 territories allocated to the exclusive control of a particular Delta Dental State

Insurer, and (2) that the Delta Dental State Insurers will not sell or attempt to sell dental

insurance to dental plan sponsors or members outside of each Delta Dental State Insurer’s

allocated territory.

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       95.     Evidence of the Market Allocation Mechanism exists in the Delta Dental State

Insurers’ Annual Statements to the insurance departments responsible for the provision and

administration of insurance in each of the states where the Delta Dental State Insurers have

operated. The Delta Dental State Insurers are required to file these statements -which do not

contain any reimbursement rates-to report their annual revenues and profits, and in so doing have

confirmed the operation of the Market Allocation Mechanism. For example, Schedule T to these

annual statements is entitled “Premiums and Other Considerations: Allocated by States and

Territories,” and requires each of the Delta Dental State Insurers to list the total amount of

premiums received from Delta Dental insureds on a state-by-state basis. Copies of these

statements demonstrate that the Delta Dental State Insurers obtained revenue from premiums

exclusively from insureds located within the territory allocated to each Delta Dental State Insurer.

In no case—including when the market for dental insurance could reasonably be expected to

extend to dental plan sponsors and members located across state lines—did a Delta Dental State

Insurer report any income received from outside of its allocated territory.4

       96.     This deliberate allocation of the territories in which each Delta Dental State

Insurer can conduct its business, and the corresponding agreement that the Delta Dental State

Insurers will not compete with each other in respect of dental insurance business outside of their

respective allocated areas, has no legitimate insurance-based need. It does not serve to transfer

or spread the risk of patients insured by Delta Dental. Nor is it a necessary component of the

relationship between Delta Dental and patients with Delta Dental insurance. Instead, it serves


       4
          See, e.g., Annual Statement of the Delta Dental Plan of Arkansas, Inc., to the Insurance
Department of the State of Arkansas (Year Ending December 31, 2016), at 38; Annual Statement
of The Delta Dental Plan of New Mexico, Inc. to the Insurance Department of the State of New
Mexico (Year Ending December 31, 2016), at 38; Annual Statement of the Delta Dental of Iowa
to the Insurance Department of the State of Iowa (Year Ending December 31, 2017), at 38;
Annual Statement of the Delta Dental of Rhode Island to the Insurance Department of the State
of Rhode Island (Year Ending December 31, 2017), at 38.
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only Delta Dental, by reducing competition in the market for dental insurance in all of the

territories in which the Delta Dental State Insurers are based, and thus reducing competition

across the United States as a whole.

        97.     In the absence of the Market Allocation Mechanism the Delta Dental State

Insurers would compete for dental insurance business outside of and between the territories they

presently have allocated exclusively among themselves. Dental plan sponsors and members in

Carson City, Nevada, for example, would not be restricted to accepting the terms and conditions

of the plans offered by Delta Dental Insurance Company (headquartered approximately 2400

miles away in Georgia). Instead, they could also consider the terms and conditions of any plans

offered by Delta Dental California and available to their neighbors 130 miles away in

Sacramento, California, and vice versa. Delta Dental Insurance Company and Delta Dental

California would then be required to compete for these dental insurance customers, as would all

of the Delta Dental State Insurers in respect of dental plan sponsors and members in all of the

markets for dental insurance across the U.S. Multiple other examples of the Market Allocation

Mechanism exist—such as Delta Dental Connecticut’s only selling insurance to plan sponsors

and members in Connecticut, and not in the greater New York area—and further demonstrate the

anticompetitive and economically artificial nature of the mechanism, which has no policy or risk

allocation benefit to patients.

        98.     Competition between the Delta Dental State Insurers would benefit dental plan

sponsors and members by driving down the premium prices that members as patients are

required to pay for such insurance, or by increasing the scope of the coverage offered under an

insurance policy for the same premium price. Such competition would also give the Delta

Dental Providers greater choice in respect of the dental insurance plans they could accept from

potential dental patients. This choice would free the providers from the dominant control and

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below-market reimbursement rates imposed upon them by whichever Delta Dental State Insurer

is allocated exclusive control of the territory in which the provider is based.5

         99.    Due to Defendants’ implementation and maintenance of the Market Allocation

Mechanism, Plaintiffs and the Dental Providers have received less reimbursement for the goods

and services they provided to the Delta Dental insureds, and have been injured in their property

and business as a result.

II.      AS PART OF THE CONSPIRACY, DELTA DENTAL IS ENGAGED IN
         UNLAWFUL PRICE FIXING

         100.   In addition to participating in the Market Allocation Mechanism to dividing and

controlling the territories in which the Delta Dental State Insurers offer dental insurance,

Defendants have also colluded to use their dominant market position to fix artificially low rates

at which they reimburse Dental Providers for goods and services provided to Delta Dental

insureds.

         101.   The Price Fixing is a collusive agreement reached among Defendants, and

implemented through the Delta Dental Provider Agreement entered between the Delta Dental

State Insurers and the Dental Providers. Defendants draw upon their access to market rates data

for dental goods and services across the U.S. via the records obtained and held by Delta Dental

Plans Association, and use these to collectively determine the below market rates they will

impose upon the Dental Providers pursuant to the Delta Dental Provider Agreement. Defendants

coordinate their reimbursement rates through the Delta Dental Plans Association by, among



         5
         A dental insurer offering a dental plan needs at least two things for the plan to succeed:
(1) patients willing to pay the dental insurer’s premiums in exchange for the terms and coverage
offered by the plan, and (2) dental providers willing to accept patients under that plan given the
reimbursement rates the dental insurer is offering for the good and services provided to the
dental patient. In a free and competitive market, patients will not accept the plan if the dental
insurer’s premiums are too high, and dental providers will not accept the plan if the dental
insurer’s reimbursement rates are too low.
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other things, agreeing on the form of the agreements that the Delta Dental State Insurers enter

into with the Delta Providers, sharing their reimbursement data, and policing the reimbursement

rates of the other Delta Dental State Insurers.

       102.    As set forth above, the Dental Providers are effectively forced to enter into the

Delta Dental Provider Agreement with their respective Delta Dental State Insurers—and to

accept the artificially low reimbursement rates set out there—because of Defendants’

monopsony control of the market for dental insurance in territories allocated to the Delta Dental

State Insurers across the U.S. In California, for example, Delta Dental California controls

approximately 87% of the dental insurance market. A dentist or dental practice in that State

accordingly is faced with an overwhelming majority of patients who have subscribed to one of

the Delta Dental insurance plans, and wish to be treated by a dentist or dental practice willing to

accept that plan. The dentist or dental practice can either turn away the patient, accept the

patient as a nonpar (non-participating) Delta Dental dentist, or accept the patient as a par

(participating) Delta Dental dentist. Both turning away the patient, or accepting them as a

nonparticipating Delta Dental dentist (subject to very low reimbursement rates and other

disincentives that nonpar dentists receive), are deeply suboptimal choices for the dentist.6 With

no realistic alternative, the dentist—like the majority of the Dental Providers serving as named

Plaintiffs in this Consolidated Complaint—is required to accept the Delta Dental Provider

Agreement and its below market rates in order to access the majority of dental patients in the

provider’s state, and thereby to maintain a viable dentistry business.

       103.    The lower-than-market reimbursement received from the relevant Delta Dental

State Insurer may also have incentivized dentists across the U.S. to provide sub-optimal care, or



       6
         Indeed, dentists are highly constrained by law in the extent to which they can decline
patients on the basis of a patient’s ability to pay, or a patient’s chosen method of payment.
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even forgoing medically necessary care. For example, a dentist—knowing that the

reimbursement she or he will receive from Delta Dental will not cover a procedure that is

necessary or optimal for a patient—may be required to provide a more limited procedure. Dental

patients, receiving a light cleaning (i.e., supra-gingival) rather than a deep cleaning (i.e., sub-

gingival), or a tooth extraction rather than more extensive treatments such as endodontic therapy

and/or a crown, are disadvantaged in such situations as a result. As another example of the

consequences of Delta Dental’s anticompetitive reimbursement practices: Dental Providers are

often required to accept and treat patients from outside the territory of the Delta Dental State

Insurer with which the dentist has contracted, without an assignment of benefits from the

patient’s Delta Dental State Insurer (meaning that the dentist must collect the fee for services

from the usually out-of-State patient, with a low probability of collection). As a result, a dentist

may opt to do only temporary or highly necessary work for an out-of-State patient who is not

insured by the Delta Dental State Insurer with which that dentist has contracted. In such

circumstances, the dentist knows that the patient’s Delta Dental State Insurer will not reimburse

the dentist directly for the work, and the dentist will have to collect from that out-of-State

patient.

           104.   Absent the Price Fixing and the Market Allocation Mechanism which gives the

Dental Providers no choice but to accept the rates as determined via the Price Fixing, the Dental

Providers would have a choice among the dental insurance plans they could accept from their

patients. They would then be better positioned to negotiate with the Delta Dental State Insurers

for higher reimbursement rates for the goods and services they provide to Delta Dental insureds

under Delta Dental insurance plans.

           105.   Due to Defendants’ implementation and maintenance of the Price Fixing,

Plaintiffs and the Dental Providers have received less reimbursement for the goods and services

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they provided to Delta Dental insureds, and have been injured in their property and business as a

result.

III.      AS PART OF THE CONSPIRACY, DELTA DENTAL IS ENGAGED IN
          UNLAWFUL REVENUE RESTRICTIONS

          106.   In addition to the Market Allocation Mechanism and the Price Fixing, Defendants

have engaged in a third mechanism to restrict the amount of revenue that any Delta Dental State

Insurer is permitted to derive from selling dental insurance outside of the “Delta Dental” brand.

          107.   The Revenue Restrictions are set by the Delta Dental Plans Association, and

agreed to by the Delta Dental State Insurers pursuant to the Delta Dental Plan Agreement. They

mandate that the Delta Dental State Insurers limit or restrain the extent to which they conduct

dental insurance business and derive revenues other than under the Delta Dental brand.

          108.   Several of the Delta Dental State Insurers do conduct dental insurance business

other than under the Delta Dental brand, and all of the Delta Dental State Insurers could do so.

Indeed, through their administration of the Delta Dental plans, the Delta Dental State Insurers

have the skills and knowledge required to conduct a significant amount of business in offering

dental services that would compete with other Delta Dental plans. Yet the Delta Dental State

Insurers even where they have incorporated for profit subsidiaries to conduct certain dental

insurance business have operated carefully to avoid competing with the plans offered by other

Delta Dental State Insurers, or the dental businesses operated by the subsidiaries of other Delta

Dental State Insurers.

          109.   The Revenue Restrictions thus amount to a significant restraint on trade because

they directly limit the amount of competition and the number of competitors in the market in

which the Delta Dental State Insurers (or their subsidiaries) could compete for customers.

Absent the Revenue Restrictions, there would be greater competition for dental insurance and

other dental services, which would result in greater insurance choice and lower premiums for
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dental plan sponsors and members, and greater insurance choice and higher rates of

reimbursement for dental goods and services provided by dentists and dental practices.

IV.      DELTA DENTAL HAS EARNED SIGNIFICANT PROFITS FROM ITS
         UNLAWFUL CONSPIRACY, AND FUNNELED THEM INTO EXCESSIVE
         EXECUTIVE COMPENSATION AND CAPITAL RESERVES

         110.    While many of the Defendants are not-for-profit entities, their directors and

executives have received lavish executive compensation as a reward for implementing and

maintaining the highly profitable conspiracy described above.

         111.    For example, a review of the Delta Dental State Insurers’ publicly available

Inland Revenue Service Form 990’s (“Return of Organization Exempt from Income Tax”) for

2016 demonstrates that the executives of these not-for-profit companies are frequently receiving

million, or multi-million, dollar annual salaries. The following table provides a sample of the

salaries paid to the executives responsible for maintaining Defendants’ conspiracy:

              Examples of Delta Dental State Insurers’ Executive Compensation in 2016

      Delta Dental State Insurer           Executive, and Title                       Compensation

      Delta Dental California              Anthony S. Barth, President/CEO            6,043,7107

      Delta Dental Delaware, Inc.          Gary D. Radine, Former President/CEO       $7,607,525

                                           Michael J. Castro, EVP/CFO                 $2,711,964

                                           Michael G. Hankinson, EVP/CLO              $2,040,945

      Delta Dental District of Columbia    Nilesh C. Patel, EVP                       $1,806,328

                                           Alicia F. Weber, SVP                       $1,573,356

      Delta Dental Illinois                Bernard Glossy, President/CEO              $1,280,552

      Delta Dental New York Inc.           Michael G. Hankinson, EVP/CLO              $2,040,945



         7
         Plus $8,284,122 in “other compensation from the organization and related
organizations.” Form 990 for Delta Dental of California, Inc. (2016), Part VII.
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                                        Belinda Martinez, EVP                       $1,928,593

                                        Rick R. Doering, SVP                        $1,561,892

   Delta Dental Plan of Ohio, Inc.      Laura L. Czelada, President/CEO             $9,213,1078

                                        Goran Jurkovic, CFO                         $1,636,9199

   Delta Dental Virginia                Dr. George A. Levicki, President            $1,077,511

   Delta Dental Rhode Island            Joseph Nagle, President/CEO                 $1,438,636


       112.   These extravagant compensation packages belie the Delta Dental companies’

status as not-for-profit entities, and explain Defendants’ powerful motive to implement and

maintain the above-described conspiracy. As the following chart demonstrates, more than half

of the not-for-profit Delta Dental State Insurer’s CEO receive compensation of more than

$1,000,000 per year:




       8
         Plus $2,693,718 in “other compensation from the organization and related
organizations.” Form 990 for Delta Dental Plan of Ohio, Inc. (2016), Part VII.
       9
         Plus $1,412,846 in “other compensation from the organization and related
organizations.” Id.
                                              38
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       113.   These figures do not represent typical compensation in the not-for-profit industry.

The average Delta Dental State Insurer CEO’s compensation (across the 31 entities who report

the relevant data) in 2016 was $3,145,912, whereas the average U.S. not-for-profit CEO’s

compensation during the same time period was $146,653.10 The average Delta Dental State

Insurer CEO thus earned more than 20 times the amount of the average nonprofit CEO in the

U.S.

       114.   In at least one state, a coalition of concerned dentists has petitioned the state

attorney general to investigate whether the nature and extent of the compensation received by the




       10
          See, https://www.payscale.com/research/US/Job=Chief_Executive_Officer_(CEO)%2C_Non-
Profit_Organization/Salary

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executives of the local Delta Dental State Insurer violates the laws regarding compensation paid

to executives of a charitable organization.11

        115.    Defendants have also used the illicit revenue derived from their conspiracy to

build excessive capital reserves, far beyond their annual liabilities. For example, in 2016 Delta

Dental New Jersey had total assets of $321 million, and total liabilities of only $80 million;

Delta Dental Illinois had total assets of $145 million compared to total liabilities of only $44.8

million; Delta Dental Plan of Ohio, Inc. had total assets of almost $200 million, and total

liabilities of only $37.8 million; and Delta Dental Rhode Island had total assets of almost $114

million, and total liabilities of only $21.8 million.

        116.    Together, the exorbitant salaries and bulging reserves demonstrate that Delta

Dental’s “not-for-profit” companies are in fact motivated to and do derive significant supra-

competitive profits from their anticompetitive practices.

V.      DELTA DENTAL’S ANTICOMPETITIVE AGREEMENTS SHOULD BE
        ENJOINED, AND DEFENDANTS SHOULD BE COMPELLED TO ALLOW
        COMPETITIVE MARKET CONDITIONS

        117.    As discussed above, the Delta Dental State Insurers have considerable market

power for insurance of dental goods and services in respect to each of territories in which the

Delta Dental State Insurers conduct business. Defendants are using that market power to engage

in anticompetitive practices that are causing ongoing harm in each of the territories allocated to

the Delta Dental State Insurers and thus across the United States as a whole.

        118.    The Market Allocation Mechanism is anticompetitive because it prevents

competition among the Delta Dental State Insurers within and between each of the territories

allocated to the Delta Dental State Insurers. This lack of competition in turn strengthens the


        11
           Petition against Dental Service of Massachusetts, Inc., d/b/a Delta Dental and its
Affiliates regarding Misuse of Charitable Assets and Anticompetitive Conduct that harms Dental
Healthcare Consumers in Massachusetts (May 23, 2017) (“Massachusetts Petition”), at 10.
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market dominance of the Delta Dental State Insurers, which creates an unfair barrier to entry for

non-Delta Dental branded dental insurance providers seeking to provide dental insurance within

the Delta Dental territories. This Mechanism is implemented and enforced by the Delta Dental

Plan Agreement. Pursuant to that agreement, the Delta Dental State Insurers restrict their

offering of dental insurance to their assigned territories; in exchange, they enjoy supra-

competitive premiums as a result of exercising their monopsony power and underpaying the

Dental Providers. These supra-competitive profits are funneled back to Delta Dental Plans

Association, and distributed to the other Delta Dental State Insurers. In order to remedy these

anticompetitive practices, Defendants should be enjoined from their territorial restrictions and

the Delta Dental State Insurers should be permitted to offer Delta Dental insurance outside of

their assigned territories and in competition with other Delta Dental State Insurers.

       119.    The Revenue Restrictions are also anticompetitive because they place a direct cap

on the amount of business the Delta Dental State Insurers can generate under their non-Delta

Dental insurance plans and in competition to their Delta Dental business. These restrictions are

also implemented via the Delta Dental Plan Agreement, and prevent the Delta Dental State

Insurers from developing and offering dental insurance under non-Delta Dental plans that would

compete with their Delta Dental plan offerings, and prevent the Delta Dental State Insurers from

competing with the Delta Dental plan offerings of other Delta Dental State Insurers. Defendants

should be enjoined from the Revenue Restrictions, and allowed to derive an unlimited amount of

revenue from their non-Delta Dental-branded dental insurance business. This would allow

dental plan sponsors and members greater choice for dental insurance, which would in turn allow

the Dental Providers greater choice in the insurance plans they could chose to accept (and thus

also in the reimbursement rates they were offered pursuant to those plans).




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       120.    The Price Fixing is also anticompetitive. Fair competition between the Delta

Dental State Insurers is restricted by Defendants’: (1) agreeing among themselves to the rates at

which they will reimburse the Dental Providers for the goods and services the providers offer to

Delta Dental insureds, and then (2) abusing their monopsony control to force these artificially

low rates onto the Dental Providers. Defendants should be enjoined from colluding to set the

reimbursement rates offered to the Dental Providers, so the providers (and their patients) can

benefit from the higher reimbursement rates that would result if the Delta Dental State Insurers

were forced to compete.

       121.    Delta Dental’s conduct in engaging in the Market Allocation Mechanism, the

Price Fixing, and the Revenue Restrictions is all per se anticompetitive.

       122.    At the same time, Defendants possess market power in any relevant market, the

conspiracy has significant anticompetitive effects in respect of non-substitutable products within

any relevant market, and the conspiracy had no or insufficient pro-competitive justifications

when measured against the anticompetitive conduct alleged. Thus, Defendants are liable for

each mechanism of the alleged conspiracy even under a quick-look or rule-of-reason analysis.

       123.    The Delta Dental State Insurers, including those acting through the Delta Dental

Plans Association, exercise considerable market power in the territories in which they operate.

Together, and on average when acting through the Delta Dental Plans Association, the Delta

Dental State Insurers control 65% of the market for dental insurance across the U.S.

       124.    Defendants have exercised their market power to achieve significantly

anticompetitive purposes with few or no compensatory features in respect of each of the alleged

conspiracy. The Market Allocation Mechanism is a horizontal territorial division agreed and

enforced by the Delta Dental State Insurers with each other and through the Delta Dental Plans

Association. It serves the sole purpose of protecting each of the Delta Dental State Insurers from

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competition by other Delta Dental State Insurers within the territories allocated to each insurer.

These territorial allocations serve no pro-competitive purpose, and exist only to protect the

market dominance of each of the Delta Dental State Insurers in its assigned territory.

       125.    The Price Fixing is an agreement among the Delta Dental State Insurers, who

would be competitors but for the Market Allocation Mechanism, and exists solely to allow the

Delta Dental State Insurers to share the Delta Dental Providers’ pricing information among

themselves, thereby to determine the lowest and most punitive rates of reimbursement that the

Delta Dental Providers are willing to accept. The Price Fixing, in theory, could have the pro-

competitive benefit of lowering the dental insurance premiums paid by dental insurance plan

sponsors and members in each territory in which Defendants conduct business. Or, it could

allow Delta Dental to return significant funds to the Dental Providers and communities that Delta

Dental ostensibly serves so the providers can invest in better facilities, equipment, and patient

services. Delta Dental does neither of these things, however. Instead, as set out above, Delta

Dental channels the lion’s share of the profits it makes from its conspiracy to keep

reimbursement rates artificially low and to use profits for lavish compensation for its executives

and over-inflated capital reserves. No plausible procompetitive benefit is achieved or advanced

by Delta Dental’s imposition of punishingly below-market reimbursement rates to the Dental

Providers. To the contrary, the low reimbursement rates, combined with the fact that Dental

Providers had little choice but to accept them due to Delta Dental’s market dominance, has—for

the reasons explained above—likely reduced or lessened the services providers were able to

perform on insureds in the relevant markets.

       126.    The Revenue Restrictions also have the anticompetitive effect of reducing the

amount of competition among the Delta Dental State Insurers in each of the territories in which

they conduct business by directly reducing the extent to which the Delta Dental State Insurers

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will compete when conducting business other than under the Delta Dental brand. Pursuant to the

Delta Dental Plan Agreement and implemented through the Delta Dental Plans Association, the

Delta Dental State Insurers entered into the Revenue Restrictions with the sole purpose of

ensuring that they do not compete with each other’s Delta Dental franchise business through

non-Delta Dental branded business. There is no pro-competitive benefit to the conspiracy, which

exists solely to enhance the territorial divisions achieved by the Market Allocation Mechanism

and to preserve Defendants’ market dominance so they can impose the Price Fixing and Revenue

Restrictions.

       127.     Absent the Market Allocation Mechanism, the Price Fixing, and the Revenue

Restrictions, the Delta Dental State Insurers would compete with each other in respect to the

markets for dental insurance, between and outside of their assigned territories, and in a way that

would naturally produce higher reimbursement rates for the Dental Providers and/or lower

premiums for dental insurance plan sponsors and members.

VI.    PLAINTIFFS HAVE SUFFERED ANTITRUST INJURY

       128.     Plaintiffs have suffered antitrust injury in respect of each of the three mechanisms

of Defendants’ conspiracy.

       129.     The Market Allocation Mechanism is an illegal horizontal market allocation

agreement and has caused antitrust injury to Plaintiffs. By allocating the markets in which the

Delta Dental State Insurers can offer dental insurance, Defendants have restrained competition in

a way that has reduced the number of insurance plans available to dental patients served by the

Dental Providers, and thus restrained competition among dental insurance providers for the

reimbursement rates offered to the Dental Providers. Dental Providers—faced with the

overwhelming dominance of the Delta Dental State Insurers in their allocated territories, and the

Delta Dental State Insurers’ refusal to conduct business across or outside of those territories—are


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faced with a “take it or leave it” scenario for the reimbursement rates they are offered by the

Delta Dental State Insurer in their territory.

       130.    Absent the Market Allocation Mechanism, there would be more competition

among dental insurers for the insurance premium business of dental plan sponsors and members,

and for the dental goods and services business of dentists and dental practices. This competition

would increase the reimbursement rates available to the Dental Providers. This competition also

would decrease the premiums (or increase the coverage) available to dental plan sponsors and

members.

       131.    The Price Fixing has caused antitrust injury to Plaintiffs. By colluding to fix the

reimbursement rates paid by the Delta Dental State Insurers to the Dental Providers, rather than

allowing those rates to be set by competition among the Delta Dental State Insurers, Defendants

have reduced competition and set artificially low the amounts that the Dental Providers receive

as reimbursement for goods and services provided to Delta Dental insureds. Absent the

conspiracy, competition among the Delta Dental State Insurers would naturally lead to higher

reimbursement rates for the Dental Providers.

       132.    The Revenue Restrictions have caused antitrust injury to Plaintiffs. By colluding

to agree that the Delta Dental State Insurers will limit the revenue from non-Delta Dental

branded business, Defendants have directly reduced the amount of competition in the market for

dental insurance. Absent the restrictions, the Delta Dental State Insurers would conduct more

dental insurance business apart from and in competition with their Delta Dental-branded dental

insurance business. This increased competition would again result in increased reimbursement

rates to the Dental Providers, who would have the choice of accepting patients (and thus

reimbursement rates) under multiple insurance plans, and not just the Delta Dental plans from

the Delta Dental State Insurers.

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       133.    The Dental Providers have suffered direct harm as a result of Defendants’

anticompetitive acts and conspiracy. According to the American Dental Association’s Health

Policy Institute’s most recent study, there were 198,515 practicing dentists in the United States.

According to Delta Dental Plans Association, the 39 Delta Dental Plans have the largest network

of dentists in the country and more than 78 million people are insured by Delta Dental. While a

dentist may decline to become a member of the Delta Dental network, or not accept Delta Dental

Insurance, to do so means being denied immediate (or preferred) access to the largest group of

potential dental patients in the United States because there are significant disincentives for

patients to seek treatment by an “out-of-network” dentist. On information and belief,

approximately 70% of the dentists in the country have signed or are bound by the Delta Dental

Provider Agreement.

       134.    Given Delta Dental’s market power, Defendants can (a) charge consumers

insurance premiums in keeping with, or even above, market rates, (b) pay dentists and dental

practices below-market rates for services rendered to Delta Dental insureds pursuant to the Delta

Dental Provider Agreement, and (c) retain the difference as a profit without being taxed upon it

due to Delta Dental’s “non-profit” status.

       135.    Delta Dental has exerted its monopsony power to pay less reimbursement to the

Dental Providers in a way that has had effects across the whole of the dental services industry in

the United States. Since 2011, both GDP per capita, mean U.S. household income, and the

average salary for a physician have been slowly and steadily growing. For example, as

demonstrated in the following table, the average salary for a physician (unlike dentists) grew

from $200,000 to $300,000 during that time:12



       12
          Leslie Kane, Medscape Physician Compensation Report 2018 (April 11, 2018)
https://www.medscape.com/slideshow/2018-compensation-overview-6009667#3
                                           46
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       136.    This salary increase for physicians reflects a broader trend, with growth in

healthcare spending sitting at a robust 3.0%-5.8% per annum during the same period:

                  Growth in Spending on Healthcare Services: 2010 to 2018




       137.    By contrast however, dentists on average have seen regular and consistent

declines in their earnings. As demonstrated by the following table, both general practitioner and

specialist dentists have seen a decline of about 1.5% in their incomes since 2010, despite the

broader healthcare trend:


                                                47
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       138.    Moreover, the negative trends in the incomes of dentists and dental practices is

not present in those segments of the dental market where the Delta Dental State Insurers are not

present and exercising their monopsony powers. For example, dental insurance does not

typically cover cosmetic procedures. As a result, patients do not select the dentists from whom

they receive cosmetic dental services based on the insurance plans accepted by those dentists.

Instead, dentists who provide cosmetic dental procedures are free to do so at the prices they set,

and are not subject to the reimbursement rates provided by dental insurers like Delta Dental.

Rates and revenues in the cosmetic dentistry market are thus free from significant interference by

dental insurers like Delta Dental. Unsurprisingly, and in stark contrast to the markets for dental




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services in which Delta Dental does operate, the U.S. market for cosmetic dentistry has grown

and is projected to continue growing in the near future.13

       139.    This example makes clear the impact of Defendants’ control over the Dental

Providers: the Injunctive Class and Damages Class (defined below) will continue to lose and

have lost earnings because Delta Dental has used its monopsony power to depress dental

treatment reimbursement rates as compared to a competitive market environment.

                               CLASS ACTION ALLEGATIONS

       140.    Plaintiffs bring this action on behalf of themselves and all others similarly situated

as a class action under Rules 23(a) and Rule 23(b)(1) and (b)(2) of the Federal Rules of Civil

Procedure, and seek injunctive relief on behalf of the following class (the “Injunction Class”):


               All Dental Providers, not owned, employed by, or involved in the management or
               directorship of any of the Defendants, who provide dental goods or services
               within the United States and were reimbursed by a Delta Dental Defendant.


       141.    Plaintiffs bring this action on behalf of themselves and as a class action under

Rules 23(a) and Rule 23(b)(1) and (b)(3) of the Federal Rules of Civil Procedure, and seek

monetary damages on behalf of the following class (the “Damages Class”):

               All Dental Providers, not owned, employed by, or involved in the management or
               directorship of any of the Defendants, who provided dental goods or services to a
               Delta Dental Insured, and who were reimbursed directly by a Defendant or
               subject to a Delta Dental Plan Agreement within the United States from October
               11, 2015, to the present.




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           Grand View Research, Cosmetic Dentistry Market Analysis, By Product (Dental Systems &
Equipment, Dental Implants, Dental Bridges, Dental Crowns, Dental Veneers, Orthodontic Braces,
Bonding Agents, Inlays & Onlays), By Region (U.S., Canada, Germany, U.K., China, India, South Africa,
Brazil, Mexico), And Segment Forecast To 2024 (July 2016).

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       142.    There are thousands of members of the Class as described above, the exact

number and their identities being known by Delta Dental, making Class members so numerous

and geographically dispersed that joinder of all members is impracticable.

       143.    There are numerous questions of law and fact common to each Class member,

including, but not limited to:

         a.    Whether the conduct of Defendants in respect of the Market Allocation

               Mechanism as alleged in this Consolidated Complaint caused damages to

               Plaintiffs and other members of each Class and the amount and extent of those

               damages;

         b.    Whether the conduct of Defendants in respect of the Revenue Restrictions as

               alleged in this Consolidated Complaint caused damages to Plaintiffs and other

               members of each Class and the amount and extent of those damages;

         c.    Whether the conduct of Defendants in respect of the Price Fixing as alleged in this

               Consolidated Complaint caused damages to Plaintiffs and other members of each

               Class and the amount and extent of those damages; and

         d.    Whether the conduct of Defendants in respect of the three above-described

               mechanisms combined in full, or in part, caused damages to Plaintiffs and other

               members of the Class and the amount and extent of those damages.


       144.    Plaintiffs are members of the Classes, have claims that are typical of the claims of

the Class members, have interests coincident with and not antagonistic to those of the other

members of the Class, and will fairly and adequately protect the interests of the members of the

Classes. In addition, Plaintiffs are represented by counsel who are competent and experienced in

the prosecution of antitrust and class action litigation.



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        145.    The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications.

        146.    The questions of law and fact common to the members of the Damages Class

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

        147.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Treatment as a class action will permit a large number of

similarly situated persons to adjudicate their common claims in a single forum simultaneously,

efficiently and without the duplication of effort and expense that numerous individual actions

would engender. The Damages Class is readily definable and is one for which records should

exist in the files of Delta Dental Plans Association and/or the Delta Dental State Insurers or

others, and a class action will eliminate the possibility of repetitious litigation.

        148.    Class treatment will also permit the adjudication of relatively small claims by

many members of the Classes who otherwise could not afford to litigate claims such as those

asserted in this Consolidated Complaint. This class action presents no difficulties of

management that would preclude its maintenance as a class action.

                                       CAUSES OF ACTION

               COUNT ONE – INJUNCTIVE RELIEF PER 15 U.S.C. §§ 1 & 26

        149.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs as

though set forth herein.

        150.    This is a claim for Injunctive Relief under Section 16 of the Clayton Act, 15

U.S.C. § 26.




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       151.    As explained in Count Two, Defendants’ Market Allocation Mechanism, their

Price Fixing, and their Revenue Restrictions constitute violations of Section 1 of the Sherman

Act, 15 U.S. C. § 1 under a per se, quick look, or rule of reason analysis.

       152.    Defendants’ unlawful conduct threatens to continue to injure Plaintiffs. Plaintiffs

seek a permanent injunction prohibiting Defendants and all others acting in concert from

continuing their illegal conspiracy and ordering them to take appropriate remedial action to

correct and eliminate any remaining effects of any of the conspiracy.

       153.    Plaintiffs reserve the right to seek preliminary injunctions as appropriate.

                    COUNT TWO – MONETARY DAMAGES AND INTEREST

                                        PER 15 U.S.C. §§ 1 & 15

       (MARKET ALLOCATION, PRICE FIXING, AND REVENUE RESTRICTION
       CONSPIRACY)

       154.    Plaintiffs incorporate the allegations set forth in the foregoing paragraphs as

though set forth herein.

       155.    Plaintiffs bring this claim under Section 4 of the Clayton Act, 15 U.S.C. § 15, for

threefold or trebled damages and interest.

       156.    As alleged more specifically above, Defendants have used a Market Allocation

Mechanism, Price Fixing, and Revenue Restrictions to engage in a conduct not to compete

among themselves which represents a contract, combination, and conspiracy within the meaning

of Section 1 of the Sherman Act, 15 U.S.C § 1.

       157.    Defendants have agreed to divide and allocate the geographic markets for the

provision of dental insurance into a series of exclusive territories for each of the Delta Dental

State Insurers. By so doing, Delta Dental has agreed to suppress competition and to increase its

receipts by decreasing payments to Dental Providers in violation of Section 1 of the Sherman

Act. Due to the lack of competition that results from Defendants’ illegal conduct, Dental
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Providers who choose not to be in-network have an extremely limited market for the dental

services they provide. Defendants’ market allocation agreements are per se illegal under Section

1 of the Sherman Act.

       158.    Defendants have also agreed among themselves to fix reimbursement rates for the

Dental Providers, and to limit the amount of business the Delta Dental State Insurers will do in

competition with other Delta Dental plans. By doing so, Defendants have agreed to suppress

competition by fixing and maintaining payments to the Dental Delta Providers at less than

competitive levels in violation of Section 1 of the Sherman Act. Defendants’ Price Fixing and

Revenue Restrictions agreement is per se illegal under Section 1 of the Sherman Act.

       159.    As a direct and proximate result of Defendants’ continuing violations of Section 1

of the Sherman Act, Plaintiffs have suffered and continue to suffer injury and damages of the

type that the federal antitrust laws were designed to prevent. Such injury flows directly from that

which makes Defendants’ conduct unlawful. These damages consist of having been paid less,

having been forced to accept far less favorable rates and other contract terms, and/or having

access to far fewer patients than they would have but for Defendants’ anticompetitive agreement.

                                     PRAYER FOR RELIEF

       160.    WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class of

similarly situated persons and entities, respectfully requests that the Court:

               a.       Determine that this action may be maintained as a class action under Rule

                        23 of the Federal Rules of Civil Procedure and Appoint Plaintiffs as Class

                        Representatives, and Counsel for Plaintiffs as Class Counsel;

               b.       Adjudge and decree that Defendants have violated Section 1 of the

                        Sherman Act;




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                c.      Permanently enjoin Defendants from entering into, or from honoring or

                        enforcing, any agreements that restrict the territories or geographic areas

                        in which any Delta Dental State Insurers may compete;

                d.      Permanently enjoin Defendants from continuing with their Market

                        allocation, price fixing, and revenue restrictions and remedying all effects

                        or vestiges of that conduct;

                e.      Permanently enjoin Defendants from retaliating against any Plaintiffs for

                        participation in the litigation or enforcement of any remedy;

                f.      Require on-going periodic reporting on compliance by the Defendants,

                        monitoring by the Court, and a process through which class members will

                        be represented regarding any compliance issue at Defendants’ cost, all of

                        which should continue until Defendants show that they have corrected the

                        effects of their illegal conduct;

                g.      Award Plaintiff and the Damages Class damages in the form of three times

                        the amount of damages suffered by Plaintiffs and members of the

                        Damages Class as proven at trial;

                h.      Award costs and attorneys’ fees to Plaintiffs;

                i.      Award prejudgment interest; and

                j.      Award any such other and further relief as may be just and proper.



                                          JURY DEMAND

Plaintiffs demand a trial by jury on all issues so triable.



Dated: November 26, 2019

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Respectfully submitted,

  QUINN EMANUEL URQUHART &                         WOLLMUTH MAHER & DEUTSCH LLP
  SULLIVAN, LLP

  By: /s/ Stephen R. Neuwirth                      By: /s/ Ronald J. Aranoff
  Stephen R. Neuwirth                              Ronald J. Aranoff
  Toby E. Futter                                   Cassandra Postighone
  Joseph Kiefer                                    500 Fifth Avenue-12th Floor
  51 Madison Avenue, 22nd Floor                    New York, New York 10110
  New York, New York 10010                         Telephone: (212) 382-3300
  Telephone: 212 849-7000                          Facsimile: (212) 382-0050
  stephenneuwirth@quinnemanuel.com                 raranoff@wmd-law.com
  tobyfutter@quinnemanuel.com                      cpostighone@wmd-law.com
  josephkeifer@quinnemanuel.com
                                                   Plaintiffs’ Interim Co-Lead Class Counsel
  Leonid Feller, P.C.
  Athena Dalton
  191 N. Wacker Drive, Suite 2700
  Chicago, Illinois 60606
  Telephone: (312) 705-7400
  leonidfeller@quinnemanuel.com
  athenadalton@quinnemanuel.com

  Plaintiffs’ Interim Co-Lead Class Counsel




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KAPLAN FOX & KILSHEIMER LLP                       MALKINSON & HALPERN, P.C.
Robert N. Kaplan                                  John R. Malkinson
Gregory Arenson                                   33 North Dearborn Street, Suite 1540
Elana Katcher                                     Chicago, IL 60602
850 Third Avenue                                  Telephone: (312) 427-9600
New York, New York 10022                          jmalkinson@mhtriallaw.com
Telephone: (212) 687-1980
rkaplan@kaplanfox.com                             Member, Plaintiffs’ Interim Executive Committee
garenson@kaplanfox.com
ekatcher@kaplanfox.com

Chair, Plaintiffs’ Interim Executive Committee


SPECTOR ROSEMAN & KODROFF, P.C.                   RADICE LAW FIRM
Eugene A. Spector                                 John Radice
Jeffrey L. Spector                                April Dawn Lambert
William G. Caldes                                 475 Wall Street
2001 Market Street, Suite 3420                    Princeton, NJ 08540
Philadelphia, PA 19103                            Telephone (312) 339-7140
Telephone: (215) 496-0300                         radice@radicelawfirm.com
espector@srkattorneys.com                         alambert@radicelawfirm.com
jspector@srkattorneys.com
bcaldes@srkattorneys.com                          Member, Plaintiffs’ Interim Executive Committee

Member, Plaintiffs’ Interim Executive Committee

CARNEY, BATES, AND PULLIAM, PLLC                  PRETI, FLAHERTY, BELIVEAU &
William P. Creasman                               PACHIOS, LLP
519 W. 7th St.                                    Gregory P. Hansel
Little Rock, Arkansas 72201                       Randall B. Weill
Telephone: (501) 312-8500                         Michael S. Smith
wcreasman@cbplaw.com                              Elizabeth F. Quinby
                                                  One City Center
BERNSTEIN LIEBHARD LLP                            P.O. Box 9546
Stanley D. Bernstein                              Portland, ME 04112-9546
Stephanie M. Beige                                Telephone: (207) 791-3000
10 East 40th Street                               ghansel@preti.com
New York, NY 10016                                rweill@preti.com
Telephone: (212) 779-1414                         msmith@preti.com
bernstein@bernlieb.com                            equinby@preti.com
beige@bernlieb.com
                                                  Member, Plaintiffs’ Interim Executive Committee




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FREED KANNER LONDON & MILLEN LLC             KELLER ROHRBACK L.L.P.
William H. London                            Mark A. Griffin
2201 Waukegan Road, Suite 130                Raymond Farrow
Bannockburn, IL 60015                        1201 Third Avenue, Suite 3200
Telephone: (224) 632-4500                    Seattle, WA 98101
wlondon@fklmlaw.com                          Telephone: (206) 623-1900
                                             Mgriffin@kellerrohrback.com
                                             Rfarrow@kellerrohrback.com

REINHARDT WENDORF & BLANCHFIELD              MCLAFFERTY LAW FIRM, P.C.
Garrett D. Blanchfield, Jr.                  David P. McLafferty
Brant D. Penney                              923 Fayette Street
332 Minnesota Street, Suite W-1050           Conshohocken, PA 19428
St. Paul, MN 55101                           Telephone: (610) 940-4000 ext.12
Telephone: (651) 287-2100                    dmclafferty@mclaffertylaw.com
Facsimile: (651) 287-2103
g.blanchfield@rwblawfirm.com
b.penney@rwblawfirm.com




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